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                                                      August 15, 2018
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   8                       UNITED STATES DISTRICT COURT
   9                     CENTRAL DISTRICT OF CALIFORNIA
  10                              WESTERN DIVISION
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  12   LISA DOYLE, DERIVATIVELY AND           Case No. 15-cv-07568-SJO (MRWx)
       ON BEHALF OF RESONANT INC.,
  13                                          Hon. S. James Otero
                  Plaintiff,
  14
                  v.                          xxxxxxxxxxx
  15                                          [PROPOSED] ORDER AND FINAL
                                              JUDGMENT
  16   TERRY LINGREN, et al.,
  17                     Defendants,
  18                     and
  19   RESONANT INC.,
  20              Nominal Defendant.
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                                                                             FINAL JUDGMENT
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   1         This matter came before the Court for hearing pursuant to this Court’s Order
   2   Preliminarily Approving Derivative Settlement and Providing for Notice, dated
   3   February 1, 2018 (the “Preliminary Approval Order”), on the application of the
   4   Settling Parties for final approval of the Settlement set forth in the Stipulation and
   5   Agreement of Settlement dated December 14, 2017 (the “Stipulation”). Due and
   6   adequate notice having been given to Current Resonant Stockholders as required in
   7   said Preliminary Approval Order, and the Court having considered all papers filed
   8   and proceedings had herein and otherwise being fully informed of the premises and
   9   good cause appearing therefore, IT IS HEREBY ORDERED, ADJUDGED, AND
  10   DECREED that:
  11         1.     This Final Order and Judgment (“Judgment”) incorporates by
  12   reference the definitions in the Stipulation, and except where otherwise specified
  13   herein, all capitalized terms used herein shall have the same meanings as set forth in
  14   the Stipulation.
  15         2.     This Court has jurisdiction over the subject matter of the Action,
  16   including all matters necessary to effectuate the Settlement, and over all Settling
  17   Parties.
  18         3.     The Court finds that the Settlement set forth in the Stipulation is fair,
  19   reasonable, and adequate as to each of the Settling Parties, Resonant, and Current
  20   Resonant Stockholders, and hereby finally approves the Settlement in all respects
  21   and orders the Settling Parties to perform its terms to the extent the Settling Parties
  22   have not already done so.
  23         4.     The Action, all claims contained therein, any other Released Claims,
  24   and Defendants’ Released Claims, are hereby ordered as fully, finally, and forever
  25   compromised, settled, released, discharged and dismissed on the merits and with
  26   prejudice by virtue of the proceedings herein and this Judgment. The Settling
  27   Parties are to bear their own costs, except as otherwise provided in the Stipulation.
  28         5.     Upon the Effective Date, Resonant, Plaintiff, and each of Resonant’s
                                                                                  FINAL JUDGMENT
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   1   stockholders shall be deemed to have, and by operation of this Judgment shall have,
   2   fully, finally, and forever released, relinquished, and discharged all Released
   3   Claims (including Unknown Claims) against the Released Persons, and any and all
   4   claims arising out of, relating to, or in connection with the defense, settlement or
   5   resolution of the Action against the Released Persons. Resonant, Plaintiff and each
   6   of Resonant’s stockholders shall be deemed to have, and by operation of this
   7   Judgment shall have, covenanted not to sue any Released Person with respect to
   8   any Released Claims, and shall be permanently barred and enjoined from
   9   instituting, commencing or prosecuting the Released Claims against the Released
  10   Persons. Nothing herein shall in any way impair or restrict the rights of any
  11   Settling Party to enforce the terms of the Stipulation.
  12         6.     Upon the Effective Date, each of the Released Persons shall be
  13   deemed to have, and by operation of this Judgment shall have, fully, finally, and
  14   forever released, relinquished, and discharged each and all of Plaintiff or her
  15   beneficiaries, Plaintiff’s Counsel, and Resonant from Defendants’ Released Claims.
  16   The Released Persons shall be deemed to have, and by operation of this Judgment
  17   shall have, covenanted not to sue Plaintiff or her beneficiaries, Plaintiff’s Counsel,
  18   or Resonant with respect to any claims arising out of, relating to, or in connection
  19   with their institution, prosecution, assertion, settlement, or resolution of the Action
  20   or the Released Claims, and shall be permanently barred and enjoined from
  21   instituting, commencing or prosecuting Defendants’ Released Claims against
  22   Plaintiff or her beneficiaries, Plaintiff’s Counsel, or Resonant.       Nor shall the
  23   foregoing in any way impair or restrict the rights of any Settling Party to enforce
  24   the terms of the Stipulation.
  25         7.     The Court finds that the Notice to Current Resonant Stockholders was
  26   made in accordance with the Preliminary Approval Order and provided the best
  27   notice practicable under the circumstances to all Persons entitled to such notice, and
  28   said notice fully satisfied the requirements of Federal Rule of Civil Procedure 23.1
                                                                                  FINAL JUDGMENT
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   1   and the requirements of due process.
   2         8.     Plaintiff’s Counsel is hereby awarded attorneys’ fees and expenses in
   3   the amount of $75,000, which sum the Court finds to be fair and reasonable, and
   4   which shall be paid to Plaintiff’s Counsel in accordance with the terms of the
   5   Stipulation. Plaintiff is hereby awarded a Service Award in the amount of $1,000,
   6   which sum shall be paid out of Plaintiff’s Counsel’s Fee Award.
   7         9.     This Judgment, the fact and terms of the Stipulation, including any
   8   exhibits attached thereto, all proceedings in connection with the Settlement, and any
   9   act performed or document executed pursuant to or in furtherance of the Stipulation
  10   or the Settlement:
  11         (a)    shall not be offered, received, or used in any way against the Settling
  12   Parties as evidence of, or be deemed to be evidence of, a presumption, concession,
  13   or admission by any of the Settling Parties with respect to the truth of any fact
  14   alleged by Plaintiff or the validity, or lack thereof, of any claim that has been or
  15   could have been asserted in the Action or in any litigation, or the deficiency or
  16   infirmity of any defense that has been or could have been asserted in the Action or
  17   in any litigation, or of any fault, wrongdoing, negligence, or liability of any of the
  18   Released Persons;
  19         (b)    shall not be offered, received, or used in any way against any of the
  20   Released Persons as evidence of, or be deemed to be evidence of, a presumption,
  21   concession, or admission of any fault, misrepresentation or omission with respect to
  22   any statement or written document approved, issued, or made by any Released
  23   Person, or against Plaintiff as evidence of any infirmity in her claims; or
  24         (c)    shall not be offered, received, or used in any way against any of the
  25   Released Persons as evidence of, or be deemed to be evidence of, a presumption,
  26   concession, or admission of any liability, fault, negligence, omission or
  27   wrongdoing, or in any way referred to for any other reason as against the Released
  28   Persons, in any arbitration proceeding or other civil, criminal, or administrative
                                                                                  FINAL JUDGMENT
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   1   action or proceeding in any court, administrative agency, or other tribunal.
   2         10.    This Judgment, the Stipulation, the Settlement, and any act performed
   3   or document executed pursuant to or in furtherance thereof, shall not be admissible
   4   in any proceeding for any purpose, except to enforce the terms of the Settlement.
   5   However, the Released Persons may refer to the Settlement, and file the Stipulation
   6   and/or this Judgment, in any action that may be brought against them to effectuate
   7   the liability protections granted them thereunder, including, without limitation, to
   8   support a defense or claim based on principles of res judicata, collateral estoppel,
   9   full faith and credit, release, standing, good faith settlement, judgment bar or
  10   reduction or any other theory of claim preclusion or issue preclusion or similar
  11   defense or claim under U.S. federal or state law or foreign law.
  12         11.    The Court finds that during the course of the Action, the Settling
  13   Parties and their counsel at all times complied with Federal Rule of Civil Procedure
  14   11.
  15         12.    Without affecting the finality of this Judgment in any way, the Court
  16   hereby retains continuing jurisdiction over: (a) implementation of the Settlement;
  17   and (b) all Settling Parties for the purpose of construing, enforcing, and
  18   administering the Stipulation and this Judgment, including, if necessary, setting
  19   aside and vacating this Judgment, on motion of a Settling Party, to the extent
  20   consistent with and in accordance with the Stipulation if the Effective Date fails to
  21   occur in accordance with the Stipulation.
  22         13.    The Settling Parties are hereby authorized, without further approval of
  23   the Court, to unanimously agree to and adopt in writing such amendments,
  24   modifications, and expansions of the Stipulation and all exhibits attached thereto,
  25   provided that such amendments, modifications, and expansions of the Stipulation
  26   are done in accordance with the terms of Paragraph 7.6 of the Stipulation, are not
  27   materially inconsistent with this Final Judgment and do not materially limit the
  28   rights of Current Resonant Stockholders or the Released Persons under the
                                                                                   FINAL JUDGMENT
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   1   Stipulation.
   2         14.      This Judgment is a final, appealable judgment and should be entered
   3   forthwith by the Clerk in accordance with Federal Rule of Civil Procedure 58.
   4         15.      The provisions of this Final Judgment constitute a full and complete
   5   adjudication of the matters considered and adjudged herein, and the Court
   6   determines that there is no just reason for delay in the entry of judgment. The Clerk
   7   is hereby directed to immediately enter this Final Judgment.
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  10            8/15/18
  11   DATED:___________                      _________________________
                                              HON. S. JAMES OTERO
  12                                          UNITED STATES DISTRICT JUDGE
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                                                                                FINAL JUDGMENT
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